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EXHIBIT E
Case 3:09-cv-05191-CRB Document127-5 Filed 01/21/11 Page 2of8

Brenner, Wendy

From: Brenner, Wendy

Sent: Monday, June 14, 2010 10:01 AM

To: ‘Anna Levine’

Subject: RE: Enyart Preliminary Injunction Proposed Order

Attachments: HN-#859740-vrtf-Draft_Order_Language_(2nd_Pl).DOC; HN-#859740-v4-

Draft_Order_Language_(2nd_P!).DOC

Hi Anna ~ Thanks for your mark up. Your changes were generally fine - | made two minor changes, which | suspect will
not be problematic. | am happy to discuss them if you have questions.

Clean, revised draft + redline attached.

Remind me...what did we do last time? Did you guys submit the proposed order to the Court with a cover letter?

Wendy Brenner

Cooley LLP

3175 Hanover Street

Palo Alto, CA 94304-1130

Direct: (650) 843-5371 +* Fax: (650) 849-7400

From: Anna Levine [mailto:alevine@dralegal.org]

Sent: Thursday, June 10, 2010 1:47 PM

To: Brenner, Wendy

Subject: RE: Enyart Preliminary Injunction Proposed Order

| wanted to add one further item that | believe we should include: language regarding the supplemental bond. | have
numbered the attached draft and added the following:

Plaintiff shall post an additional bond in the amount of $5,000 to be filed with the Clerk of the Court by
, 2010, and deposited into the registry of the Court.

Anna Levine, Staff Attorney
Disability Rights Advocates

2001 Center Street, Third Floor
Berkeley, California 94704-1204

510 665 8644 (Tel)
510 665 8716 (TTY)
510 665 8511 (Fax)

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From: Anna Levine

Sent: Thursday, June 10, 2010 1:38 PM

To: ‘Brenner, Wendy’

Subject: Enyart Preliminary Injunction Proposed Order

Dear Wendy,

Attached are my proposed revisions to the preliminary injunction order that you previously
circulated. | made a few changes to add provisions from the June 4, 2010 minute order of the
court, and to better correspond the MPRE and MBE sections.

Let me know if you have any questions. | need to leave at 3pm today, but am available by
telephone before that time, as well as all day tomorrow.

Thanks,

Anna

Anna Levine, Staff Attorney
Disability Rights Advocates

2001 Center Street, Third Floor
Berkeley, California 94704-1204

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1. With respect to the August 2010 administration of the Multistate Professional
Responsibility Examination (MPRE), NCBE shall provide ACT with the MPRE loaded onto a
laptop computer equipped with JAWS and ZoomText software, with the examination displayed in
14-point Arial font. NCBE shall also direct ACT to provide Ms. Enyart with the following
accommodations on the August 2010 administration of the MPRE:

(a) Double the standard time;

(b) A private room;

(c) One five minute break every hour;
(d) A scribe to fill in the answers.

NCBE shall deliver the laptop computer to ACT no less than two (2) days prior to the
administration of the examination, and request ACT to provide Ms. Enyart with access to the
laptop twenty-four (24) hours before the examination to attach her peripherals, customize the
JAWS and ZoomText settings, and test the equipment prior to the day the examination is to be
taken. ACT shall be responsible for custody of, and access to, the laptop once it is delivered to
ACT. In the event-efany-preblem-with ACT declines to provide any of the accommodations
specified in-connection-ith this order, counsel are to notify the court one week prior to the day of
the examination.

Additionally, NCBE shall direct ACT to permit Ms. Enyart to use all of the following during the
MPRE as accommodations, all of which shall be brought to the examination by Ms. Enyart:

(e) An ergonomic keyboard;

(f) A trackball mouse;

(g) A large monitor;

(h) Her own lamp to control lighting conditions;
(i) Sunglasses;

G) A yoga mat;

(k) Large print digital clock;

(1) Migraine medication.

The ergonomic keyboard, trackball mouse, and monitor shall be devoid of any storage devices or
storage mechanisms and NCBE does not guarantee the interoperability of such devices with the
computer it provides. The MPRE shall be administered by ACT with the above accommodations
pursuant to the Stipulation Re: Voluntary Dismissal Without Prejudice of Defendant ACT, Inc.;
filed with the Court on November 25, 2009.

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2. With respect to the July 2010 administration of the California Bar exam, NCBE shall
provide the State Bar of California, Committee of Bar Examiners (the “State Bar’’) with the
Multistate Bar Examination (MBE) loaded onto a laptop computer equipped with JAWS and
ZoomText software furnished by NCBE, with the examination displayed in 14-point Arial font.
NCBE shall deliver the laptop computer to the State Bar no less than two (2) days prior to the
administration of the MBE, and request the State Bar to provide Ms. Enyart with access to the
laptop twenty-four (24) hours before the examination to attach her peripherals, customize the
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delivered to the State Bar. DeeisiensAll decisions with respect to the administration of the
examination shall rest with the State Bar. The MBE shall be administered by the State Bar with the
above accommodations pursuant to the Stipulation Regarding Dismissal Without Prejudice of
Defendant State Bar of California; Order Thereon filed with the Court on December 9, 2009.

3. Plaintiff shall post an additional bond in the amount of $5,000 to be filed with the Clerk
of the Court by , 2010, and deposited into the registry of the Court.

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Document comparison by Workshare Professional on Sunday, June 13, 2010 6:05:30 AM

Document 127-5

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